                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 COVIL CORPORATION, by and through
 its duly appointed receiver, Peter D.
 Protopapas,
                                                              1:18-CV-932

                           Plaintiff,
                     v
 ZURICH AMERICAN INSURANCE
 COMPANY and USF&G COMPANY,

                           Defendants.

 ORDER AND JUDGMENT DISMISSING TIG INSURANCE COMPANY AND
              RELATED CLAIMS WITH PREJUDICE

      Before this Court is the October 13, 2020 Joint Motion of Covil Corporation, by and

through its duly appointed Receiver Peter D. Protopapas (“Covil”) and TIG Insurance

Company, as successor in interest to Fairmont Specialty Insurance Company f/k/a Ranger

Insurance Company (“TIG”) to dismiss their claims against one another with prejudice.

Upon consideration of the good cause shown, the Court GRANTS the joint motion to

dismiss all claims between Covil and TIG and, in light of the TIG settlement being

finalized, DISMISSES TIG from the action with prejudice.

      IT IS SO ORDERED.

      This the 6th day of November, 2020.



                                         ________________________________
                                         UNITED STATES DISTRICT JUDGE




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